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 4

 5 Attorney for Defendant
   EVA MARTINEZ
 6

 7

 8                                      IN THE UNITED STATES DISTRICT COURT

 9                                          EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                   CASE NO. 2:07-CR-00234 TLN
12                                          Plaintiff,           STIPULATION REGARDING
                                                                 CONTINUANCE OF ADMIT OR
13   v.                                                          DENY HEARING; FINDINGS AND
                                                                 ORDER
14   EVA MARTINEZ,
15                                          Defendant.
16

17             Defendant, EVA MARTINEZ, by and through her counsel of record, TONI WHITE, and the

18 GOVERNMENT hereby stipulate as follows:

19             1.        By previous order, this matter was set for admit or deny hearing on May 26, 2016.

20             2.        By this stipulation, defendant now moves to continue the admit or deny hearing until

21 June 16, 2016, at 9:30 a.m., and to exclude time between May 26, 2016 and June 16, 2016 under

22 Local Code T4. The GOVERNMENT does not oppose this request. PROBATION does not oppose

23 this request.

24             3.        The parties agree and stipulate, and request that the Court find the following:

25                       a.        A psychological examination of Ms. Martinez has been requested but not yet

26 completed. Defense counsel believes it would be more beneficial to have the psychological results of

27 the examination before determining which allegations to admit as Ms. Martinez’ psychological

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 1 issues may have affected the behavior that is the basis of those allegations. Defense counsel needs

 2 more time to prepare the case prior to an admit or deny hearing.

 3                     b.        Counsel for defendant believes that failure to grant the above-requested

 4 continuance would deny her the reasonable time necessary for effective preparation, taking into

 5 account the exercise of due diligence.

 6                     c.        The GOVERNMENT does not object to the continuance. PROBATION does

 7 not object to the continuance.

 8                     d.        The GOVERNMENT and counsel for the defendant are working toward

 9 resolution of the case.

10                     g.        Based on the above-stated findings, the ends of justice served by continuing

11 the case as requested outweigh the interest of the public and the defendant in a trial within the

12 original date prescribed by the Speedy Trial Act.

13                     g.        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

14 § 3161, et seq., within which trial must commence, the time period of May 26, 2016 to June 16,

15 2016 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

16 because it results from a continuance granted by the Court at defendant’s request on the basis of the

17 Court’s finding that the ends of justice served by taking such action outweigh the best interest of the

18 public and the defendant in a speedy trial.

19           4.        Nothing in this stipulation and order shall preclude a finding that other provisions of

20 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

21 a trial must commence.

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 1        IT IS SO STIPULATED.

 2        Dated: May 24, 2016                                    BENJAMIN B. WAGNER
                                                                 United States Attorney
 3
                                                                 By:    /s/ Toni White for
 4
                                                                 TIMOTHY DELGADO
 5                                                               Assistant U.S. Attorney

 6                                                               For the United States
 7        Dated: May 24, 2016                          By:       /s/ Toni White _
                                                                 TONI WHITE
 8                                                               For the Defendant Eva Martinez
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11                                                     ORDER
12        IT IS SO FOUND AND ORDERED this 24th day of May, 2016.
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16                                                                Troy L. Nunley
                                                                  United States District Judge
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